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                                UNITED STATES DISTRICT COURT

                  WESTERN DISTRICT OF LOUISIANA (ALEXANDRIA)

  ***************************
  ROY A. VANDERHOFF           :
                              :                                CIVIL ACTION
  VS.                         :                                NO. 05-00309-DDD-JDK
                              :
  RANDY PRENTICE and          :                                HON. DEE D. DRELL
  DR. PACHECO                 :                                MAG. JAMES D. KIRK
  ***************************

                          MEMORANDUM IN SUPPORT OF MOTION
                           TO TAX COST AND ATTORNEY FEES


  1.      STATEMENT OF THE CASE

           The plaintiff, Roy A. Vanderhoff is a former inmate who was incarcerated at

  Avoyelles Correctional Center (“ACC”) in Cottonport, Louisiana. He filed this complaint

  in forma pauperis1 pursuant to 42 U.S.C. § 1983 against Randy Prentice2 and Alphonse

  Pacheco, M.D. (“Dr. Pacheco”). Only Dr. Pacheco has been served and he is the lone

  remaining defendant. Plaintiff alleges that he was subjected to deliberate indifference to

  his serious medical needs. He was seeking compensatory and punitive damages,

  attorney’s fees, costs and a trial by jury.3

  2.       PROCEDURAL HISTORY

           Plaintiff originally filed this lawsuit on October 1, 2004, in the U.S. District Court

  1
    Rec. Docs. 2 and 3.
  2
    Named defendant but unserved. Dismissed as a defendant on February 11, 2008. Rec. Doc. 47.
  3
    Rec. Doc. 1, “Relief Sought”. ¶19. Plaintiff has since withdrawn his request for trial by jury.
  Rec. Doc. 42.


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  for the Middle District of Louisiana.4 On February 18, 2005, the Court issued a Notice of

  Intent to Dismiss because there was no proof in the record that plaintiff had perfected

  service on the defendants in accordance with Fed. R. Civ. P. 4(m).5 On February 18,

  2005, the plaintiff filed a Motion for Extension of Time for Service, which was granted.6

           Subsequently, plaintiff filed a motion to transfer his case on February 11, 2005

  and the motion was granted on February 19, 2005.7 On June 13, 2005, the Court again

  issued a Notice of Intent to Dismiss for Failure to Effect service within 120 days.8 On

  June 30, 2005, the Court issued a Memorandum Order detailing the case and ordering the

  plaintiff to amend his Complaint.9 Plaintiff filed a Motion for Extension of Time to

  comply with the Court’s Notice,10 which was granted.11

           On August 29, 2005, the plaintiff filed a First Supplemental and Amended

  Complaint.12 On October 12, 2005, the Court again filed a Notice of Intent to Dismiss

  for Failure to Effect Service within 120 days.13 On November 1, 2005, the Clerk under

  LR 41.3W filed an Order of Dismissal into the record.14 On December 5, 2005, the

  plaintiff filed a Motion to Reinstate Case,15 which was granted on December 6, 2005.16


  4
    Rec. Doc. 1.
  5
    Rec. Doc. 6.
  6
    Rec. Docs. 7 and 8.
  7
    Rec. Doc. 10, 11 and 12.
  8
    Rec. Doc. 16.
  9
    Rec. Doc. 17.
  10
     Rec. Doc. 18.
  11
     Rec. Doc. 19.
  12
     Rec. Doc. 20.
  13
     Rec. Doc. 21.
  14
     Rec. Doc. 22.
  15
     Rec. Doc. 23.


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           On January 30, 2006, the Court filed into the record a Waiver of Service

  evidencing service on Dr. Pacheco.17 On February 28, 2006, defendant Pacheco filed a

  Motion to Dismiss.18 On June 16, 2006, the Court granted the defendant’s motion19 and

  judgment was rendered on June 16, 2006.20 Although plaintiff filed no opposition to the

  defendant’s Motion to Dismiss, the plaintiff filed a Notice of Appeal from the

  judgment.21 On October 4, 2007, the U.S. Fifth Circuit Court of Appeals issued a

  judgment vacating the district court’s judgment and remanded the case to the district

  court for further proceedings.22

           Trial was set numerous times, but trial was finally set without continuance on

  August 13, 2008 by an order issued on June 6, 2008.23 Defendant filed a Motion for

  Summary Judgment on May 16, 2008.24 The Court issued an order on June 18, 2008

  allowing a 38 day continuance to the plaintiff to file any opposition to defendant’s motion

  for summary judgment.25 On August 1, 2008 plaintiff finally filed an opposition stating

  that, “he cannot oppose the motion.”26 A ruling was made under LR 56.2 adopting

  defendant’s statement of undisputed facts and memorandum in support of motion for



  16
     Rec. Doc. 25.
  17
     Rec. Doc. 29.
  18
     Rec. Doc. 31.
  19
     Rec. Doc. 33.
  20
     Rec. Doc. 34.
  21
     Rec. Doc. 35.
  22
     Rec. Doc. 39.
  23
     Rec. Doc. 59.
  24
     Rec. Doc. 51.
  25
     Rec. Doc. 61.
  26
     Rec. Doc. 62.


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  summary judgment.27 A judgment was subsequently issued granting defendant’s motion

  for summary judgment and dismissing plaintiff’s claims.28

  2.       STANDARDS OF REVIEW
           A.       Frivolousness


           A complaint is frivolous if it lacks an arguable basis in law or fact.29 In this case,

  plaintiff’s claims lacked an arguable basis in law and fact. That is, legally the state

  defendant could not be sued under 42 U.S.C. §1983 as he was entitled to immunity under

  the Eleventh Amendment to the U.S as well as Qualified Immunity.                                        Furthermore,

  factually, plaintiff’s claims had no reasonable factual basis. Defendant’s sent discovery

  asking specifically what witnesses and exhibits would be used in the trial of this matter.30

  Plaintiff responded to both questions on July 1, 2008 answering, “None at this time.”31

  This shows that after three years, five months and seventeen days plaintiff’s attorney

  had failed to secure any witness or exhibit to verify the claims upon which he had made

  when he filed his complaint as well as failing to investigate the claim before filing.

           A.       Attorney Fees

           Lawsuits such as this against state defendants take these officials away from their

  daily activities and other duties in working for the state, especially in cases such as this


  27
     Rec. Doc. 63.
  28
     Rec. Doc. 64.
  29
     Davis v. Scott, 157 F.3d 1003, 1005 (5th Cir. 1998); Reeves v. Collins, 27 F.3d 174, 176 (5th Cir.
  1994); Neitzke v. Williams, 490 U.S. 319, 109 S.Ct. 1827 (1989); Talib v. Gilley, 138 F.3d 211,
  213 (5th Cir. 1998).
  30
     See Exhibit A.
  31
     See Exhibit B.


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  where the target of this frivolous suit is a Medical Doctor whose time is valuable to the

  patients he serves. The defense of these frivolous claims requires the expenditure of

  public funds that would be better spent providing services to the taxpayers, who are the

  individuals who have had to foot the bill for Vanderhoff and J. Courtney Wilson’s

  frivolous claims.

             The record in this case shows that the defendant successfully obtained a judgment

  dismissing plaintiff’s claims.32 He is accordingly a prevailing party who is entitled to

  bring a claim for attorney’s fees under 42 U.S.C. §1988. (“Section 1988”)

             Section 1988 provides in pertinent part that “(i)n any action or proceeding to

  enforce a provision of . . . (Section 1983) the court, in its discretion, may allow the

  prevailing party, other than the United States, a reasonable attorney’s fee as part of the

  costs. . .” The basic analytical standard governing a prevailing Defendants’ claim under

  Section 1988 is as follows:

                       The Supreme Court has held that a prevailing defendant may
                       recover attorney’s fees under §1988 if the plaintiff’s action is
                       “frivolous, unreasonable or groundless, or . . . the plaintiff
                       continued to litigate after it clearly became so.” (Case cites
                       omitted.) Defendants are not required to show either
                       subjective or objective bad faith on the part of the plaintiff in
                       order to recover § 1988 attorneys’ fees. Hamer v. County of
                       Lake, 819 F.2d. 1362, 1366 (7th Cir. 1987) (citation omitted).
                       Instead the defendant must demonstrate that the plaintiff’s
                       action is “meritless in the sense that it is groundless or
                       without foundation.” Hughes, 449 U.S. at 14, 101 S.Ct. at
                       178. “[W]hen a civil rights suit is lacking in any legal or
                       factual basis . . ., an award of fees to the defendant is
  32
       Rec. Doc. 64.


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               clearly appropriate to deter frivolous filings and to ensure
               that the ability of the courts to remedy civil rights
               violations is not restricted by dockets crowded with
               baseless litigation.” Coates v. Bechtel, 811 F.2d 1045, 1050
               (7th Cir. 1987) (citation omitted) Munson v. Milwaukee Bd. Of
               School Directories, 969 F.2d 266, 269 (7th Cir. 1992).
               (emphasis added)

        Furthermore, 28 U.S.C.A. § 1927 states that, “[a]ny attorney or other person

  admitted to conduct cases in any court of the United States or any Territory thereof who

  so multiplies the proceedings in any case unreasonably and vexatiously may be

  required by the court to satisfy personally the excess costs, expenses, and attorneys' fees

  reasonably incurred because of such conduct.” (emphasis added)

        This litigation has been pending for more than three years in two different Courts

  and has been appealed to the Fifth Circuit Court of Appeal. The Court on its own motion

  has tried to dismiss this claim twice for failure to serve and did in fact dismiss it once

  with Mr. Wilson filing to reinstate the claim. Defendant filed a motion to dismiss which

  was granted upon the defendant failing to file any opposition. However, plaintiff, after

  failing to originally file any opposition, appealed the judgment to the Fifth Circuit Court

  of Appeal compounding the cost to the public and cost to judicial resources for

  prosecution of this baseless claim. Furthermore, as can be seen in Rec. Doc. 59, trial was

  originally scheduled for June 13, 2008 but was continued to August 13, 2008 upon the

  assertion of Mr. Wilson that he did not yet obtain his clients medical records and that his

  client was deathly ill and there was no possible way for him to travel from St. Bernard




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  Parish to Alexandria for the trial six days away. However, undersigned counsel out of an

  abundance of caution did further investigate this assertion and did find out that plaintiff

  was in fact not ill and had no restriction upon his ability to travel. This is evidenced by a

  United States District Court transport sheet showing no restrictions upon Vanderhoff’s

  ability to travel.33 This was the latest waste of judicial resources in this overall factually

  baseless claim. For these reasons, this Honorable Court should award the Defendants

  attorney’s fees against Roy A. Vanderhoff and J. Courtney Wilson under Section 1988.

             The Defendant also seeks their attorney’s fees under Rule 11, F.R.C.P. Rule 11

  requires that every pleading, written motion, or other paper filed in the Federal District

  Court “shall be signed by at least one attorney of record or by the party if the party is not

  represented by an attorney. By signing the pleading or by later advocating the already

  signed and filed pleading, the attorney or unrepresented party represents to the Court,

  among other things, that:

                        (1) (the pleading) is not being presented for any improper
                            purpose, such as to harass, cause unnecessary delay, or
                            needlessly increase the cost of litigation;
                        (2) the claims, defense, and other legal contentions are
                            warranted by existing law or by a nonfrivolous argument
                            for extending, modifying, or reversing existing law or for
                            establishing new law;
                        (3) the factual contentions have evidentiary support or, if
                            specifically so identified, will likely have evidentiary
                            support after a reasonable opportunity for further
                            investigation or discovery . . . (emphasis added)



  33
       See Exhibit C.


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  The purpose of sanctions under Rule 11 is to deter rather than to compensate. See Fed.

  R. Civ. P. 11 Adv. Comm. Notes.             Mr. Wilson’s complaint does not meet the

  requirements of any of the aforementioned stipulations under Rule 11. Mr. Wilson has

  sought on two occasions through an original complaint and amended complaint to submit

  documentation to this Court that contained allegations with less than no evidentiary

  support and were not well founded in law as Dr. Pacheco was fully entitled to qualified

  immunity.

             In compliance with Local Rule 54.2, the undersigned counsel attaches copies of

  the bills and time reports evidencing the attorneys’ fees and costs incurred in the defense

  of this claim.34

  3.         CONCLUSION

             Vanderhoff’s lawsuit filed by J. Courtney Wilson against the Defendant was

  frivolous, had no basis in fact or law, and furthermore, Mr. Wilson provided the Court

  with false information regarding the ability of plaintiff to attend his own trial when it is

  clear upon the record that plaintiff had conducted no discovery or investigated the claim

  which he had contended was true for over three years. This entire suit has needlessly

  burdening the Court and taxpayers of the State of Louisiana in the defense of this suit.

  Accordingly, Defendant prays that this Honorable Court award attorney’s fees and costs

  in favor of the Defendants pursuant to 42 U.S.C. § 1988, 28 U.S.C.A. § 1927 and Federal

  Rule of Civil Procedure, Rule 11 as well as requesting any appropriate sanctions.
  34
       See Exhibit D


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                                          Respectfully submitted,

                                          JAMES D. “BUDDY” CALDWELL
                                          ATTORNEY GENERAL

                                    BY:   /s/Douglas G. Swenson
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                             CERTIFICATE OF SERVICE

        I certify that on the 18th of August 2008, the foregoing Memorandum in Support
  of Motion to Tax Cost and Attorney Fees was electronically filed with the United States
  District Court using the CM/ECF filing system which sent notice of such filing to the
  following:    Courtney Wilson, 1510 Veterans, Metairie, LA 70005; e-mail:
  cwilson@courtlaw.net attorney for the plaintiff Roy A. Vanderhoff.

                                 /s/Douglas G. Swenson
                                DOUGLAS G. SWENSON




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